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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov


In re :                                                                   Case No. 6:18-bk-03688-KSJ
                                                                          Chapter 7

Daniel B. Shipley and
Nicole R. Shipley,
                        Debtor(s).
____________________________________/

          CERTIFICATION OF NECESSITY OF REQUEST FOR EMERGENCY HEARING

         I HEREBY CERTIFY, as a member of the Bar of the Court, that I have carefully examined the
matter under consideration and to the best of my knowledge, information and Belief formed after
reasonable inquiry, all allegations are well grounded in fact and all contentions are warranted by existing
law or a good faith argument for the extension, modification, or reversal of existing law can be made, that
the matter under consideration is not interposed for any improper purpose, such as to harass, to cause
delay, or to increase the cost of litigation, and there is just cause to request a consideration of the
following pleading on an emergency basis:

          Trustee’s Motion for Order Approving Sale of Estate’s Interest in Non-Homestead Real
          Estate in Curry County, Oregon (Emergency Hearing Requested on or before October 23,
          2019) (Doc. No. 30)

         I CERTIFY FURTHER that there is a true necessity for an emergency hearing, specifically,
because the Trustee seeks authority to sell the estate’s interest in real property in Curry County,
Oregon and requires a hearing prior to October 23rd, 2019 for the following reason: the instant sale of
real property is a lender approved short sale. The subject property is encumbered by a first
mortgage and a second mortgage. The first mortgage short sale approval was received on
September 4, 2019 requiring the closing to take place on or before October 4, 2019. The second
mortgage short sale approval was received on October 9, 2019, after the expiration of the time for
closing required by the first mortgage short sale approval. On October 10, 2019, BK Global Real
Estate Services informed counsel for the Trustee of the extension of the first mortgage short sale
approval to October 25, 2019 with the provision no further extensions would be granted due to a
servicing transfer. The loss of first mortgage short sale approval will result in the forfeiture of the
sale of the asset and its value to the estate. A hearing by October 23, 2019 is requested to allow time
for entry of the Order Approving Sale and transmission of documents to Oregon title agent prior to
the closing date of October 25, 2019.

         I CERTIFY FURTHER that the necessity of this emergency hearing has not been caused by a
lack of due diligence on my part, but has been brought about only by circumstances beyond my control or
that of my client. I further certify that this motion is filed with full understanding of F.R.B.P. 9011 and
the consequences of noncompliance with same.

          DATED this 10th day of October, 2019.
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                          /s/ Kristen L. Henkel
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